Case 3:25-cv-02847-AMO   Document 91-1   Filed 05/02/25   Page 1 of 3




          EXHIBIT A
           Case 3:25-cv-02847-AMO            Document 91-1        Filed 05/02/25     Page 2 of 3




 1                                     UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
 2                                        SAN FRANCISCO DIVISION

 3
 4 COMMUNITY LEGAL SERVICES IN EAST                        Case No: 3:25-cv-2847 (AMO)
     PALO ALTO, et al.,
 5
                        Plaintiffs,
 6
            v.
 7
     UNITED STATES DEPARTMENT OF
 8   HEALTH AND HUMAN SERVICES, et al.,

 9                      Defendants.

10
11                       SUPPLEMENTAL DECLARATION OF SHARON ROBERTS

12          I, Sharon Roberts, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, as follows:
            1.       I incorporate my previous declarations in this case (ECF Nos. 45-2, 82-1) as if fully set
13
     forth herein.
14
            2.       I am the Associate Director of the U.S. Department of the Interior, Interior Business
15 Center, Acquisition Services Directorate (collectively DOI).
16        3.     DOI provides assisted acquisition services to the Department of Health and Human
17 Services, Administration of Children and Families, Office of Refugee Resettlement (collectively ORR)
18 under the Interior Franchise Fund. The Interior Franchise Fund is one of six pilot programs authorized
     pursuant to the Federal Financial Reform Act of 1994, Pub. L. 103-356, title IV, § 403, 103 Stat. 3414
19
     (Oct. 13, 1994) and made permanent by the Consolidated Appropriations Act of 2008. Pub. L. 110-161,
20
     121 Stat. 1844 (Dec. 26, 2007), to provide “common administrative support services” to federal agencies
21 more efficiently than through other means.
22        4.      This declaration is based upon my personal knowledge, information acquired by me in the
23 course of performing my official duties, information contained in the contract records of contract number
24 140D0422C0009 between DOI and Acacia Center for Justice (Acacia), and information conveyed to me
25 by current agency employees including the Contracting Officer administering the contract.
            5.       I submit this declaration to supplement my earlier declarations filed on April 8, 2025 and
26
     April 21, 2025 and in order to convey the further specific steps taken by DOI to comply with the TRO.
27
            6.       On April 21, 2025, at approximately 8:01pm ET, I executed my previous declaration in
28 this matter. ECF No. 82-1. At 8:27pm ET, DOI received from Acacia its final reinstatement proposal.

                                                           1
           Case 3:25-cv-02847-AMO          Document 91-1       Filed 05/02/25      Page 3 of 3




 1          7.     On April 22 and 23, 2025, DOI reviewed Acacia’s final reinstatement proposal and,

 2 having found the proposal complete and acceptable, DOI prepared the bilateral contract modification to
     add CLINs 2-4 to the contract.
 3
            8.     On April 24, 2025, the DOI contracting officer sent the modification for required internal
 4
     reviews.
 5          9.     On April 28, 2025, DOI completed all required internal reviews, the DOI contracting
 6 officer prepared the final modification and sent the modification to Acacia for signature.
 7          10.    On April 29, 2025, Acacia signed and returned the modification to DOI and DOI

 8 countersigned, thus completing the bilateral modification with an effective date of April 29, 2025, a
     performance start date of April 30, 2025 and an end date of September 29, 2025.
 9
            11.    The effective date of April 29 means that Acacia’s approved invoices submitted for tasks
10
     completed during the period starting April 29, 2025 and ending September 29, 2025 will be paid pursuant
11 to the modified contract terms.
12         12.    A contract with Acacia for CLINs 2-4 was not in place between March 21 and April 29,
13 2025. Pursuant to the terms of the partially terminated contract and the March 21, 2025 “Cancellation
14 Order,” Acacia may submit a settlement proposal for covered expenses within six months of the
     “Cancellation Order” (by September 21, 2025).
15
16
17 Executed on May 2, 2025.
18                                                                       Digitally signed by
                                                        SHARON           SHARON ROBERTS
19                                                      ROBERTS          Date: 2025.05.02 15:37:11
                                                     _______________________________________
                                                                         -04'00'
20
                                                     Sharon Roberts
21
22
23
24
25
26
27
28

                                                         2
